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              EXHIBIT 7:                                          --
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..... BEGIN PRIVACY ENHANCED MESS~3E .....
Proc-Type: 2001,MIC-CLEAR
originator-Name: webmaster@www.sec.gov
Originator Key Asy~etric:
 MFgwCgYEVQgBAQICAfSDSgAwRwJAW2sNKK9AVtBzYZmr6aGjlWyK3XmZv3dTINen
 TWSM7vrzL%DbmYQaionwg5sDW3P6oaM5D3tdezMd{m7zlT+B+twIDAQAB
MIC Info: RSA-MDS, RSA,
 RdViu+uRqVBjBC3UCWZE2pgTAwsCeUbCuU4GIreDRvqgcKkvSyhOMJeAgpSNI$CO
 tno7SgICRQQxVeiBeY/piw--

<SEC DOCUMENT>0000950123 96 004024.txt : 19960805
<SEC HEADER>0000950123 96 004024.hdr.sgml : 19960805
ACCZZSION NUMBER:                0000950123-96 004024
CONFORMED SUBMISSION TYPE:       S 4
PUBLIC DOCUMENT COUNT:           27
FILED AS OF DATE:                19960802
SROS:                     NYSE

FILER:

            COMPANy DATA:
                     COMPANY CONFORMED N2~4E:                    GRACE W R & CO /NY/
                     CENTRAL INDEX KEY:                          0000042872
                     STAND~RD INDUSTRI~ CLASSIFICATION:          CHEMICALS & ALLIED PRODUCTS [2800]
                     IRS NUNBER:                                 133461988
                     STATE OF INCORPOP~TION:                     NY
                     FISCAL yEAR END:                            1231

            FILING V~LUES:
                     FOF~M TYPE:
                     SEC ACT:                  1933 Act
                     SEC FILE NUMBER:          333-09497
                     FILM NUMBER:              96603297

            BUSINESS ADDRESS:
                     STREET 1:                ONE TOWN CENTER RD
                     CITY:                    BOCA P~TON
                     STATE:                   FL
                     ZIP:                     33486-1010
                     BUSINESS PHONE:          4073622000

         FORNER COMpANy:
                 FORMER CONFOPJMED N~24E: GF~CE W R & CO /CT/
                 DATE OF NAME CHANGE:      19900423
</SEC-HEADER>
<DOCUNENT>
<TypE>S-4
<SEQUENCE>I
<DESCRIPTION>FORM S-4
<TEXT>

<PAGE>      1

         AS FILED WITH THE SECURITIES /hND EXCHANGE COM~ISSION ON AUGUST 2, 1996
                                                             REGISTRATION NO. 33-



                            SECURITIES AND EXCHANGE CO~4ISSION
                                  WASHINGTON, D.C. 20549


                                          FORM S-4

                               REGISTRATION STATEMENT UNDER
                                THE SECURITIES ACT OF 1933


                                    W. R. GP~CE & CO.
                  (TO BE REN~ED FRESENIUS NATIONAL MEDIC~L C~E, INC.]

                  (EXACT NAME OF REGISTRANT AS ZPECIFIED IN ITS CHARTER)

                                          NEW YORK
             (STATE OR OTHER 0]]RISDICTION OF INCORPOKATION OR ORGANIZATION)

                                             3081
                 {pRIMARy 8TAND~JRD INDUSTRIAL CLASSIFICATION CODE NUMBER)

                                         13 3461988
                         (I.R.S. EMPLOYER IDENTIFICATION NUMBER)

                  ONE TOWN CENTER ROAD, BOCA ~thTON, FLORIDA 33486-1010
                                 TELEPHONE: 407-362-2000
             (~DDRESS, INCLUDING ZIP CODE, AND TELEPHONE NUMBER, INCLUDING
                AREA CODE, OF REGISTP~ANT’Z PRINCIP/hL EXECUTIVE OFFICES)

                                       ROBERT B. IJ~MM
                   ONE TOWN CENTER ROAD, BOCA EATON, FLORIDA 33486 1010
                                  TELEPHONE: 407 362-]645
                (NAME, ADDRESS, INCLUDING ZIP CODE, AND TELEPHONE NUMBER,
                        INCLUDING AREA CODE, OF AGENT OF SERVICE)




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                                     COPIES TO:

<TABLE>
<$>                                                   <C>
                 DR. ULRICH WAGNER                                ANDREW R. BROWNSTEIN, ESQ.
                 O’MELVENY & MYERS                              WACHTELL, LIPTON, ROSEN &KATZ
               153 EAST 53RD STREET                                   51 WEST 52ND STREET
             NEW YORK, NEW YORK 10022                              NEW YORK, NEW YORK 10019
                   {212)  326 2000                                       (212) 403-1000




   APPROXIMATE DATE OF COP~4ENCEMENT OF PROPOSED SALE OF THE SECURITIES TO THE
                                      PUBLIC:

 AS SOON AS pRACTICABLE AFTER THE EFFECTIVE DATE OF THIS REGISTRATION STATEMENT


<TABLE>
<CAPTION>
                         CP~LCULATION OF REGISTRATION FEE


                                                            PROPOSED      PROPOSED




http://edgar.sec.gov/Archives/edgar/data/42872/O000950123 -96-O04024.txt                                        5/19/2009
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                                                       FORMA CONDENSED COMBINED FINANCIAL
                                                       INFORMATION
         Material Contacts with the Company Being
           Acquired ................................   BACKGROUND AND REASONS -- Background of the
                                                       Reorganization; Reasons for Recon~nendations
                                                       of the Grace Board; THE
                                                       REORGANIZATION -- Continuing Arrangements
                                                       between Eresenius Medical Care and Fresenlus
                                                       AG; BUSINESS OF FRESENIUS MEDICAL
                                                       CARE     Business of Fresenius
                                                       USA -- Material Contracts between Fresenlus
                                                       AG and Fresenius USA; INTERESTS OF CERTAIN
                                                       PERSONS
</TABLE>


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                                                                   CAPTION IN JOINT PROXY
                       ITEM OF FORM S-4                             STATEMENT-PROSPECTUS

<C>      <S>                                           <C>
  7.     Additional Information Required for
           Reoffering by Persons and Parties Deemed
           to be Underwriters ......................   Not Applicable
  8.     Interests of Named Experts and CouNsel ....   SECURITY OWNERSHIP; INTERESTS OF CERTAIN
                                                       PERSONS; EXPERTS
  9.     Disclosure of Cor~ission Position on
           Inder~ification for Securities Act
           Liabilities .............................   Not Applicable
 i0.     Information with Respect to S-3
           Registrants .............................   Not Applicable
 ii.     IncorporatloD of Certain Information by
           RefereNce ...............................   Not Applicable
 12.     Information with Respect to S 2 or S 3
           Registrants .............................   Not Applicable
 13.     Incorporation of Certain Information by
           Reference ...............................   Not Applicable
 14.     Information with Respect to Registrants




<PAGE>      4

<T~LE>
<CAPTION>
                                                                  CAPTION IN JOINT PROXY
                       ITEM OF FORM S 4                            STATEMENT PROSPECTUS

<C>      <S>                                           <C>
 17.     Information with Respect to Companies
           Other Than S 2 or S-3 Companies .........   BUSINESS OF FRESENIUS MEDICAL
                                                       CARE     Business of Fresenius USA; BUSINESS
                                                       OF FRESENIUS MEDICAL CARE      Business of
                                                       NMC; RISK FACTORS; SUMMARy - Markets and
                                                       Market Prices; SELECTED FINANCIAL DATA OF
                                                       FRESENIUS USA; GP~ACE SPECIAL-PURPOSE
                                                       SELECTED FINANCIAL DATA; MANAGEMENT’S
                                                       DISCUSSION AND ANALYSIS OF FINANCIAL
                                                       CONDITION AND RESULTS OF
                                                       OPERATIONS -- FRESENIUs USA; ~kNAGEMENT’S
                                                       DISCUSSIONANDANALYSIS OF FINANCIAL
                                                       CONDITION AND RESULTS OF OPERATIONS -- NMC;
                                                       CONSOLIDATED FINANCIAL STATEMENTS OF
                                                       FRESENIUS USA, INC.; SPECII~L-PURPOSE,
                                                       CONSOLIDATED FIN~ZNCIAL STATEMENTS OF W. R.
                                                       GRACE & CO.; CONSOLIDATED INTERIM FINANCIAL
                                                       STATEMENTS OF FRESENIUS USA, INC.;
                                                       SPECIaL-pURPOSE, CONSOLIDATED FINANCIAL
                                                       STATEMENTS OF W. R. GPJiCE & CO.
 18.     Information if Proxies, Consents Or
           Authorizations ~re to be Solicited ......   Outside Front Cover of Joint Proxy
                                                       Statement-Prospectus; AVAIL~LE INFOPd~ATION;




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                                                        INCORPORATION OF CERTAIN INFORMATION By
                                                        REFERENCE; THE SPECIAL MEETINGS; THE




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                                   W. R. Grace Letterhead

                                                       August 2, 1996

Dear Shareholders:

      You are cordially invited to attend a Special Meeting of Shareholders of
Grace, to be held at I0:00 a~m., local time, on Septen~er 16, 1996 at our
headquarters in Boca Raton, Florida. I hope that you will attend this important
meeting in person or by proxy.

      On February 4, 1996, Grace and Fresenius AG, a German health care
corporation, entered into an Agreement and Plan of Reorganization (as
supplemented or modified fro~ time to time, the "Keorganization Agreement," and
the transactions contemplated thereby, the "Reorganization") to confine Grace’s
principal health care subsidiary, National Medicare Care, Inc., with Fresenius
AG’s worldwide dialysis business to form a company to be named "Fresenius
Medical Care AG." The Reorganization will be a momentous event in the history of
Grace. It will form the world’s largest renal treatment and products company,
which will be well positioned to compete in today’s global marketplace. In the
Reorganization, holders of Grace Corydon Stock and options will be allocated an
aggregate of 44.8% Of the ordinary shares of Fresenius Medical Care, on a fully
diluted basis. In~nediately prior to the combination, Grace will spin off its
packaging and specialty chemicals businesses to the holders of its Colmnon Stock.
This spun-off company will retain the "W. R. Grace & Co." name.

      The Reorganization is described in greater detail in the enclosed Joint
Proxy Statement-Prospectus. Attached as ~Jnnex A to the Joint Proxy
Statement-Prospectus is a Prospectus describing the business of the company that
will be spun off.

         The enclosed Joint Proxy Statement-Prospectus asks you to approve the




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                                   W. R. GRACE & CO.
                                  ONE TOWN CENTER ROAD
                             BOCA RATON, FLORIDA 33486-1010




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time, on Septe~er 16, 1996 to consider and vote upon the following matters,
which are more fully described in the accompanying Joint Proxy
Statement-Prospectus;

      i. TO consider a~d vote upo~ a proposal to adopt and approve {a) the
Agreement and Plan of Reorganization, dated as of February 4, 1996, between
Grace and Fresenius AG, a German corporation, together with the agreements that
are exhibits thereto, all as supplemented or modified from time to time (the
"Reorganization Agreement"), and (b) the transactions contemplated thereby
 (collectively, the "Reorganization"), including, without limitation, the Grace
Merger and the Distribution (each as defined in the Reorganization Agreement).

      2. To consider and vote upon a proposal to adopt and approve an amench~e~t
to Grace’s Certificate of Incorporation, as set forth in the Certificate of
]~enc~lent attached to the accompanying Joint Proxy Statement Prospectus as
Appendix B.

     3. TO transact such other business as may properly come before the meeting
or any adjournments or postponements thereof.

     Only holders of record of Grace Common Stock and all classes of Grace
preferred Stock at the close of business on July 29, 1996 (the "Record Date")
are entitled to notice of and to vote at such meeting or any adjournments or
postponements thereof. Approval of the Reorganization requires the affirmative

Certificate of Incorporation requires the affi~ative vote of a majority, of the

together as one class.

     Any holder of shares of Grace CoEff~on Stock as of the Record Date who does
not assent to the Reorganization has the right, upon compliance with specific
procedures, to demand fro~ Grace payment of the fair value of such holder’s
shares. Reference is made to "THE REORGANIZATION - Appraisal Rights" in the
Joint Proxy Statement-Prospectus for a more complete discussion thereof and to
Sections 623 and 910 of the New York Business Corporation Law, copies of which
are attached to the Joint Proxy Statement-Prospectus as Appendix

                                               By Order of the Board of Directors,


                                               Robert B. La~
                                               Secretary

August 2, 1996
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                                        LOGO

                                                                      August 2, 1996

Dear Stockholder:

     You are cordially invited to attend a Special Meeting of Stockholders of
Fresenius USA, Inc. to be held at 10:00 a.m., local time on September 16, ~996
at the 52nd floor conference center of O’Melveny & Myers LLP, 153 East 53rd
Street, New York, New York 10022 (the "Fresenius USA Special Meeting"). I hope
that you will be present or represented in person or by proxy at this
important meeting.

      On February 4, 1996, Fresenius AG, the majority stockholder of Fresenius
USA, Inc. ("Freseni~s USA"), and N. R. Grace & Co. ("Grace") entered into an
Agreement add Plan of Reorganizatio~ (as supplemeDted or modified from time to
time, the "Reorganization Agreement") to combine Freseni~s AG’s worldwide
dialysis business, including Freseni~s USA, with Grace*s health care operations,
incl~ding National Medical Care, I~c., Graoe’s principal health care subsidiary
 ("NNC"), to form a company to be na~ed "Fresenius Medical Care AG" {the
"Reorganization"). On Nay 8, 1996, the Reorganization Agreement was approved and
adopted on behalf of Fresenius USA by its Board of Directors.

     The colabination of Fresenius AG’s worldwide dialysis business with NNC will
form the world*s largest integrated dialysis company. Fresenius Medical Care AG
will be well-positioned to compete vigorously in today’s global marketplace. In
less tha~ I0 years since the original investment by Fresenius AG in Fresenius
USA, we have grown from a struggling peritoneal dialysis company to a profitable
business that is a significant competitor in all aspects of the dialysis
products business in North ~nerica. The strategic coI~bination of Fresenius AG’s
worldwide dialysis business (including Fresenius USA) with NNC will provide our
stockholders with an opportunity to participate in the growth of a newly formed
health care company.

     Under the Reorganization AgreeMent, Fresenius AG will contribute its




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worldwide dialysis bUSlness, including its equity interest in Fresenius USA, to
Fresenius Medical Care AG. Fresenius USA will merge with a subsidiary of
Fresenius Medical Care AG (the "FreseNius USA Merger") and, after spinning off
its non health care businesses, Grace will merge with another Fresenius Medical
Care AG subsidiary {the "Grace Merger").

       The enclosed Joint Proxy Statement Prospectus asks you and your fellow
stockholders to approve the transactions described above, as a result of which
you will receive, for each share of Common Stock of FreseNius USA, par value
$.01 per share <the "Frese~ius USA Conmlon Stock"), you olcn, approximately 1.112
;~ilerican Depositary Shares ("ADSs") represented by ~erican Depositary Receipts
of Fresenius Medical Care AG. Each ADS represents the right to receive one third
of an ordinary share, nominal value DM 5 per
<PAGE>     I0

share, of Fresenius Medical Care AG ("FMC OrdiNary Shares"). The Reorganization
is described in greater detail in the enclosed Joint Proxy Statement-Prospectus.
The JoiNt Proxy Statement-Prospectus is also a prospectus of Fresenius Medical
Care AG, and contains detailed information concerning the FMC Ordinary Shares
and the ADSS.

     A special committee of independent directors of Fresenius USA (the
"Fresenius USA Independent Co~ittee") has reviewed the Reorganization oh behalf
of its stockholders (other than Fresenius AG and W. R. Grace & Co. and their
subsidiaries) and has reco~leNded that such stockholders vote in favor Of the
Reorganization. The Fresenius USA INdependent Committee has also received an
opinion from SalomoN Brothers Inc, its financial advisor, that the exchange
ratio for the exchange of Fresenius USA Co~on Stock for FMC Ordinary Shares by
stockholders of Fresenlus USA (other than Fresenius AG and W. R. Grace & Co. and
their respective subsidiaries) is fair, from a financial point of view, to such
stockholders.

     Approval of the Reorganization requires a favorable vote of two-thirds of
the outstanding shares of Fresenius USA Co~on Stock. Stockholders are entitled
to vote all shares of Fresenius USA Co;~on Stock held of record on July 29,
1996, which is the record date for the Fresenius USA Special Meeting. A vote in
favor of the proposals authorizing the Reorganization is assured because
Fresenius AG, the majority stockholder of Fresenius USA, has agreed to vote for
such proposals.

     The Presenius USA Special Meeting will also consider a proposed amendment
to the Fresenius USA 1987 Stock Option Plan described in the Joint Proxy
Statement prospectus under the heading "~]~ENDMENT TO THE FRESENIUS USA 1987
STOCK OPTION pL~hN," which has already be~n approved by the Board of Directors.
Approval of such amenc~ent requires the favorable vote of a ~ajority of the
shares of Fresenius USA Common Stock entitled to vote at the Fresenius USA




                                            /s/ Ben J. Lipps




                               FRZSENIUS USA, INC.
                              2637 SHADELANDS DRIVE
                          WALNUT CREEK, CALIFORNIA 94598

                   NOTICE OF SPECI~iLMEETING OF STOCKHOLDERS
                        TO BE HELD ON SEPTEMBER 16, 1996

     NOTICE HERESY IS GIVEN that a Special Meeting of Stockholders of Fresenius
USA, Inc., a Massachusetts corporation ("Fresenius USA"), will be held at the
52nd floor conference center of O’Melveny & Myers LLP, 153 East 53rd Street, New
York, New York 10022 at 10:00 a.m. local time on Septenlber 16, 1996 to consider
and vote upon the following ~atters described in the accompanying Joint Proxy
Statement Prospectus:

      i. To consider and vote upon a propos~l to adopt a~d approve (a) the
Agreement and Pla~ of ReorgaNizatioN, dated as of Eebruary 4, 1996, as it may be
s~ppleme~ted or modified from time to time (the "Reorganization Agreement"),
a~ong W. R. Grace & Co., a New York corporation, Fresenius AG, a German
corporation ("Fresenius AG") and Fresenius USA and any exhibits thereto to which
Fresenius USA is a party, (b) the transactions contemplated thereby (the
"ReorgaNization"), including, without limitation, the merger of FUSA Merger Sub,
Inc., a Massachusetts corporation and a wholly o~ed subsidiary of FreseNius
Medical Care AG (a German corporation and a wholly owned subsidiary of Frese~ius
AG) with and into Fresenius USA.

    2. TO consider and vote ~pon a proposal to amend Fresenius USA’s 1987 Stock




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Option Plan to fix the maximum nun~er of shares for which options may be gr~nted
under such plan to any individual at 1,000,000 sh~res.

      3. TO transect any and all other business that may properly come before the
meeting or any adjournments or postponements thereof.

      Only holders of record of Fresenius USA co~lo~ stock, par value $.01 per
share (the "Fresenius USA Co~on Stock"l, at the close of business on July 29,
1996 (the "Record Date"), are entitled to notice of and to vote at such meeting
or any adjournments or postponements thereof. Approval of the matters to be
voted ~pon in connectio~ with the ReorgaNization requires the affirmative vote
of two thirds of the outstanding shares of Freseni~s USA Com~lon Stock and
approval of the amendment of Fresenius USA’S 1987 Stock option Plan requires the
affirmative vote of a ~ajority of the o~tstending shares of Frese~ius USA
Stock.

      In accordance with Section 87, Chapter 166B of the General Laws of
Massachusetts, holders of Fresenius USA Co~on Stock are advised as follows with
respect to the proposal to approve the Reorganization Agreement and the
Reorganization:

           If the action proposed is approved by the stockholders at the
     meeting and effected by Fresenius USA, any stockholder (1) who files
     with Fresenius USA before the taking of the vote on the approval of
     such action, written objection to the proposed action stating that he
     intends to demand payment for his shares if the action is taken and
      (2} whose shares are not voted in favor of such action has or may have
     the right to demand in writing from Fresenius USA, within twenty days
     after the date of mailing to the stockholder of notice in writing that
     the corporate action has become effective, payment for his shares and
     an appraisal of the value thereof. Fresenius USA and any such
     stockholder shall in such case have the rights and duties and shall
     follow the procedure set forth in sections 88 to 98, inclusive, of
     chapter 156B of the General L~ws of Massachusetts.

      Reference is made to "THE REORG~NIZATION -- Appraisal Rights" in the Joint
Proxy Statement-Prospectus and to Sections 85 through 98 of Chapter 156B of the
General Laws of Massachusetts, copies of which are attached to the Joint Proxy
Statement-Prospectus as Appendix G.

                                            By Order of the Board of Directors

                                            Robert E~ Farrell
                                            Clerk

August 2, 1996




                             FRESENIUS MEDICAL CARE AG
    W. R. GRACE & CO. (TO BE REN]~ED FRESENIUS NATION]iL MEDICAL CARE, INC.)




     This Joint Proxy Statement-Prospectus is being furnished to the
shareholders of W. R. Grace & Co., a New York corporation ("Grace"), which will
be ren~ed "Fresenius National Medical Care, Inc." ("pNMC"), in connection with
the solicitation of proxies by Grate’s Board of Directors (the "Grace Board")
from holders of shares of Grace common stock ("Grace Co~on Stock"), and from
holders of sh~res of all classes of Grace preferred stock, par value $i00 per
share {"Grace Preferred Stock"), for use at a special meeting of shareholders of
Grace to be held on September 16, 1996 and at any adjournments or postponements
thereof (the "Grace Special Meeting*’).




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      This Joint Proxy Statement Prospectus also is being furnished to the
stockholders of Fresenius USA, Inc., a Massachusetts corporation ("Fresenius
USA"), in connection with the solicitation of proxies by Fresenius USA’s Board
of Directors (the "Freseni~s USA Board"} from holders of shares of Fresenius USA
cor&~on stock, par v~lue $.01 per share ("Fresenius USA Cor~lon Stock"}, for
at a special meeting of stockholders of Fresenius USA to be held on
September 16, 1996 and at any adjournments or postponements thereof (the
"Fresenius USA Special Meeting" and, together with the Grace Special Meeting,
the "Special Meetings"}.

                                                           (Continued on next page)




ATTACHED AS ANNEX A TO THE VERSION OF THIS JOINT PROXY STATEMENT-PROSPECTUS
BEING FURNISHED TO GRACE SHAREHOLDERS IS THE NEW GP~ACE PROSPECTUS. SEE THE NEW
GP~ACE PROSPECTUS FOR CERTAIN MATTERS RELEVTLNT TO OWNERSHIP OF NEW GRACE




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       Medical Care {"FUSA Merger Sub") will be merged with and into Eresenius
       USA, with Fresenius USA the surviving corporation (the "Fresenius USA
       Merger" and, collectively with the Grace Merger, the "Mergers"). In the
       Grace Merger, all shares of Grace Comnlon Stock outstanding will be
       cancelled and the holders of Grace Co~mlon Stock (other tha~ a~y Grace
       Common Stock owned by Eresenius AG, Frese~ius USA, Grace or their
       respective subsidiaries, and other than Grace CorYdon Stock as to which
       appraisal rights have bee~ asserted and not withdraw~ or otherwise lost)
       will receive approximately 1.013 ~nerican Depositary Shares ("ADSs")
       represented by American Depositary Receipts {"ADRs"), each representing
       0ne-third Of an FMC Ordinary Share, for each share of Grace Common Stock
       held by them based upon the number of shares of, and options with respect
       to, Grace CorYdon Stock outstanding as of July 15, 1996; 6race Preferred
       Stock will not be exchanged for FMC Ordinary Shares in the Grace Merger. In
       the Fresenius USA Merger, all shares of Fresenius USA Common Stock
       outstanding will be cancelled and the holders of Fresenius USA Co~on Stock
        Iother than Frese~i~s USA Conmlon Stock o~rned by Fresenius AG, Fresenlus
       USA, Grace or their respective s~bsidiaries, and other than Fresenius USA
       Coral%on Stock as to which appraisal rights have been asserted and not
       withdrawn or otherwise lost) will receive approximately 1.112 ADSS,
       represented by ADRs, each representing one-third of an FMC Ordinary Share,
       per share of Fresenius USA Cow,non Stock held by them.
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(Continued from front cover)
          The Contribution of Fresenius USA. As promptly as practicable
     following the Mergers, Fresenius Medical Care will contribute Fresenius
     to FNMC.

     Grace does not intend to effect the Distribution in the event that the
Reorganization (including the Distribution and the Grace Merger) is not approved
at the Grace Meeting. Following the Reorganization, it is expected that shares
of New Grace Common Stock will be listed on the New York Stock Exchange, Inc.
(the "NySE"). It is also expected that the ADSs will be listed on the NYSZ.
Following the Reorganization, FNMC intends to seek to list the New Preferred
Shares on a national stock exchange. However, no assurance can be given that the
New Preferred Shares will satisfy the listing criteria of any such exchange. The
Reorganization Agreement, the text of the Grace 7~en~ent and the text of the
Fresenius USA Pla~, as amended by the proposed Fresenius USA Plan ~/~ench~ent are
attached to this Joint Proxy Statement-Prospectus as Appendices A, B and E,
respectively.

     The following table s~arizes what the shareholders of Grace and Fresenius
USA will receive in the Reorganization:

<TABLE>

    one share of:                            will be entitled to receive:
    Grace CoI~ilon Stock, which had a        Approximately 1,013 ADSS, each ADS
          closing price on August i,             representing one-third
           1996 in NYSE composite                of an FMC Ordinary Share
          trading of $63 i/4                    (based ~pon the number of
                                                 shares of, and options with
                                                 respect to, Grace Co,on Stock
                                                 outstanding as of July 15, 1996)
                                             One New Preferred Share
                                             One share of New Grace Common Stock
    Fresenius USA Colnalo~ Stock, which      Approximately 1.112 ~DSs, each
          had a closing price on             ADS representing one-third of an
          August i, 1996 in ~EX              FMC Ordinary Share
           composite trading of $19
</TABLE>

      Shares of Grace Preferred Stock will remain outstanding following the
Reorganization.

     In connection with approval of the ReorgaNization by the Grace Board, the
Grace Board received opinions from CS First Boston and Merrill Lynch to the
effect that, in the opinion of such firms, as of February 4, 1996, the terms of
the Distribution Pa~ent and the Grace Merger, taken together, were fair, from a
fiNaDci~l point of view, to the holders of Grace Co~ao~ Stock. In connection
with these opinions, these fir~s performed a variety of financial and
comparative a~alyses which included, among other things, valuation analyses with
respect to Fresenius Medical Care add NMC a~d made a presentation to the Grace
Board. Such opinions and presentation are based on certain assumptions and are
subject to certain limitations. Such opinions and presentation are described
herein under "BACKGROUND AND RE2~ONS" at pages 37 through 57, and the opinions
of CS First Boston and Merrill Lynch are set forth in full in Appendix C hereto.

       In connection with approval of the Reorganization by the Fresenius USA
Board, the Fresenius USA Independent Cor&~ittee received an opinion from Salomon
Brothers to the effect that, in the opinion of such firm, as of May 8, 1996, the
exchange ratio of 0.37067735 F~IC Ordinary Shares to be issued in exchange for
each share of Freseni~s USA Com~lon Stock held by the stockholders of FreseNius
USA (other than FreseDius AG and Grace and their respective subsidiaries) was
fair, from a financial point of view, to the holders of FreseNiNs USA Co~on
Stock (other than Fresenius AG and Grace and their respective subsidiaries). In
connection with this opinion, Salomon Brothers performed a variety of financial
a~d comparative analyses which incl~ded, among other things, valuation analy~es
with respect to Fresenius
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Medical Care and Fresenius USA and made a presentation to the Freseni~s USA
Independent Committee. Such opinion and presentation are based on certain




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assumptions and are subject to certain limitations. Such opinion
presentation are described herein under "BACKGROUND AND REASONS" at pages 47
through 57, and the opinion of Salomon Brothers is set forth in full in Appendix
D hereto.

       See the "INDEX OF DEFINED TEPdJS" at page 245 for the locations of the
definitions of capitalized terms used in this Joint Proxy Statement-Prospectus.
(End of front cover]
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                              AVAIIJ~LE INFORMATION

     Each of Grace and Fresenius USA is (and, following the Reorganization, FNMC
and Fresenius Medical Care will be) subject to the informational requirements of
the Securities Exchange Act of 1934, as amended (the "Exchange Act"), and, in
accordance therewith, each files {and FNMC and Fresenius Medical Care will file)
reports and other information with the Securities and Exchange Co~mission (the
"Co~nlission"). The reports and other information filed by Grace and Fresenius
USA (and to be filed by FN}{C and Fresenius Medical Care) with the Co~%ission can
be inspected and copied at the Co~nission’s public reference room located at 450
Fifth Street, N.W., Room 1024, Washington, D.C. 20549, and at the public
reference facilities in the co~ission’s regional offices located at: 7 World
Trade Center, 13th Floor, New York, New York 10048; and at Northwest Atrium
Center, 500 West Madison Street, suite 1400, Chicago, Illinois 60661. Copies of
such material can be obtained at prescribed rates by writing to the Securities
and Exchange Co~ission, Public Reference Section, 450 Fifth Street, N.W.,
Washington, D.C. 20549. In addition, reports, proxy statements, and other
information concerning Fresenius USA may be inspected at the offices of the
AMEX~ 86 Trinity Place, New York, New York 10005. Reports and other information
concerning Grace prior to the Reorganization (and, following the Reorganization,
Fresenius Medical Care] may be inspected at the offices of the NYSE, 20 Broad
Street, New York, New York 10005.

     Registration Statements have been filed pursuant to the Securities Act of
1933, as amended (the "Securities Act"), covering the ADSS representing FMC
Ordinary Shares iss~able in the Reorganization and the New Preferred Shares
issuable in the Recapitaliz~tion (including exhibits and amenc~lents thereto,
collectively, the "Registration Statement"). This Joint Proxy
Statement-Prospectus constitutes both the Joint Proxy Statement of Grace and
Fresenius USA relating to the solicitation of proxies for use at their
respective Special Meetings ~nd the Prospectus for the ADS~ and the New
preferred Shares filed as part of the Registration Statement~ All information in
the Registration Statement regarding Grace and its subsidiaries has been
provided by Grace, all information regarding Fresenius USA has been provided by
Fresenius USA, and all information regarding Freseni~s AG or its worldwide
dialysis business other than Fresenius USA has been provided by Fresenius AG.




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issued with regard to the fiscal year ending Dece~er 31, 1996. Fresenius
Medical Care will file its quarterly reports with the commission under cover of
Form 6-K.

      Freseni~s Medical Care will also furnish the Depositary with all notices of
shareholder meetings and other reports and co~unications that are made
generally available to shareholders of Fresenius Medical Care. The Depositary
will, to the extent permitted by law, arrange for the transmittal to the
registered holders of ADRS of all notices, reports and co~unicatlons provided
by Fresenius Medical Care, ~nd will make such notices, reports and
coi~aunications, together with the governing instruments affecting the FMC
ordinary Shares and amen~ents thereto, available for inspection by registered
holders of ADRs at the principal office of the Depositary in New York, presently
located at 60 Wall Street, New York, New York 10260.

      Following the Reorganization, in addition to A~nual Reports on Form 20 F
and quarterly reports, Fresenius Medical Care intends to file with the
Co~ission materials with respect to its annual meeting of shareholders and any
special meeting of shareholders ~nder cover of Form 6-K. Such materials will
also be made available to the Depositary which will forward such materials with
requests for voting i~structions to all registered holders of ADRs in accordance
with the terms of the Deposit Agreement described under "DESCRIPTION OF AMERICAN
DEPOSITARY RECEIPTS." See "DESCRIPTION OF THE POOLING AGREEMENT." Fresenius
Medical Care intends to provide in such materials i~formation generally
comparable to that which would be provided to shareholders of a U.S. corporation
in a proxy statement filed with the Conmlission, except that certain information
includi~g information relatl~g to Freeenius Medical Cafe’s management, executive
compensation and options, beneficial ownership of Fresenius Medical Care
securities and certain related party transactions will be provided in accordance
with the disclosure requirements applicable to "foreign private issuers," as
defined in the Cormalsslon’s rules.

      Following the completion of the Reorganization, by virtue of the issuance
of the New Preferred Shares pursuant to the Recapitalization, FNMC will continue
to be subject to the i~formational requirements of the Exchange ~t, and, in
accordance therewith, will continue to file reports, proxy statements and other
information with the commission and any stock exchange on which such shares ere
listed or quoted.

     NO PERSON IS AUTHORIZED TO GIVE ANy INFOR~LATION OR TO ~E ~Ny
REPRESENTATION ON BEHALF OF FRESENIUS MEDICAL CARE, FRESENIUS USA, FRESENIUS AG,
GRACE OR NEW GRACE CONCERNING THE FMC ORDIN~Y SH~h~ES, THE ADSS, THE NEW
PREFERRED SH/~ES, THE NEW GRACE CO.ON STOCK OR ANy OF THE MATTERS BEING
CONSIDERED AT EITHE~ SPECI~L MEETING IF NOT CONTAINED IN OR APPENDED TO THIS
JOINT PROXY STATEMENT-PROSPECTUS, AND, IF GIVEN OR MADE, SUCH INFOP~4ATION OR
REPRESENTATION SHOULD NOT BE RELIED UPON AS HAVING BEEN AUTHORIZED. THIS JOINT




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      The following documents filed with the Co~ission by Grace (File No.
1-3720) are incorporated herein by reference: (a) Grace’s ~,nual Report on Form
10-K for the fiscal year ended December 31, 1995, (b) Grace’s Current Reports
Form 8-K dated April 15, May 6 and July Ii, 1996 and (c) Grace’s Quarterly
Report on Form 10-Q for the quarter ended March 31, 1996.

     All documents filed by either Fresenius USA or Grece pursuant to Section
13(a), 13(c), 14 or 15(d) of the Exchange Act subsequent to the date hereof and
prior to the termination of the offering of the securities offered hereby shall
be deemed to be incorporated herein by reference and to be a part hereof from
the date of such filing. Any statement contained herein or in a document
incorporated or deemed to be incorporated herein by reference shall be deemed to
be modified or superseded for purposes hereof to the extent that a statement
contained herein or in any other subsequently filed document which also is, or
is deemed to b~, incorporated herein by reference modifies or supersedes such
statement~ ~%y such statement so modified or superseded shall not be deemed to
constitute a part hereof, except as so modified or superseded.

                                                  ENFORCEABILITY OF CIVIL LIABILITIES
                                                   UNDER THE FEDEPJ~L SECURITIES LAWS

      Freseni~s Medical Care is a corporation organized udder the laws of
Germany. Certain of Fresenius Medical Cafe’s directors and executive officers
and certain of the experts named herein are residents of Germany. A substantial
portion of the assets of Fresenius Medical Care and of such individuals is
located outside the U.S. AS a result, it may be difficult or impossible for
investors to effect service of process upon such persons within the U.S. with
respect to matters arising ~der the U.$. federal securities laws or to enforce
against them iD U.S. courts jud~mlents of such courts predicated upon the civil
liability provisions of such federal securities laws~ Fresenius Medical Care has
been advised by its German counsel, Neff, Stiefenhofer & Lutz, that there may be
doubt as to the enforceability in Germany, in original actions, of liabilities
predicated on the U.S. federal securities laws and that in Germany both
recognition and enforcement of court judQments with respect to civil liability
provisions of U.S. federal securities laws are solely governed by the provisions
of the German Civil Procedure Code (Zivilprozessordnung or ZPO). In some cases,
especially when according to the German statutory provisions the international
jurisdiction of the U.S. court will not be recognized or the judgment conflicts
with basic principles (e.g., the restriction to compensatory damages and limited
pre-trial discovery) of German law, the U.S. judgment might not be recognized by
a German court. The service of process in U.S. proceedings on persons in Germany
is regulated by a multilateral treaty guaranteeing service of writs and other
legal documents in civil cases if the current address of the defendant is known.


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Appendix E     -  Fresenius USA 1987 Stock Option Plan
Appendix E     -  Sections 910 and 623 of the NYBCL
Appendix G     -  Sections 85 through 98 of the NBCL
Appendix H     -  Letter Agreement, dated May 8, 1996, among Fresenius AG, Fresenius USA and
                  Grace
Appendix I     - Agreement, dated May 8, 1996 between Fresenius AG and Fresenius USA
~,nex A           Grace Holding, Inc. Prospectus (included only with copies of this Joint Proxy
                  Statement-Prospectus being furnished to shareholders of Grace)
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                                      SLr~MARy

     The following sue~ary is not intended to be complete and is qualified in
all respects by the more detailed information included in this Joint Proxy
Statement-Prospectus, the Appendices hereto and the documents incorporated
herein by reference. Shareholders are ~rged to read carefully this Joint Proxy
Statement-Prospectus, including the Appendices hereto and the doct~ments
incorporated herein by reference, in their entirety. In addition, Grace
shareholders are urged to read the New Grace Prospectus attached as Annex A to
the versio~ of this Joi~t Proxy State,lent-Prospectus furnished to Grace
shareholders.

THE COMPANIES

  GRACE




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     Grace, through its subsidiaries, 1s primarily engaged in the packaging and
specialty chemicals businesses on a worldwide basis and, through NMC, in
specialized health care activities. In the Reorganization, Grace will spin off
New Grace, containing all of its businesses other than ~@C. At such time,
Grace’s name will be changed to "Fresenius National Medical Care, Inc." and New
Grace’s name will be changed to "W. R. Grace & CO."

      NMC is primarily engaged in (a) providing kidney dialysis servlces, (b)
~anufacturing and dlstrib~ting products and equlpment for dialysis treatment and
performing clinical laboratory testing and other medical services, and (c}
providing home i~fusion, home respiratory therapy and home health services. NMC
operates through three principal business units: the Dialysis Services Division
 ("DSD"}, the Medical Products Group ("MPG"), and the NMC Homecare Division ("NMC
Homecare"). NMC’s address is Reservoir Place, 1601 Trapelo Road, Waltham,
Massachusetts 02154, and its telephone nu~Iber is {617) 466-9850.

     Grate’s address is One Town Center Road, Boca Raton, Florida 33486 i010 and
its telephone number is (407} 362-2000. Following the Reorganization, FNMC’s
address and telephone n~mber will become those of N~C listed above.

  FRESENIUS AG

     Fresenius AG is a German corporation which develops, manufactures and
distributes pharmaceuticals and medical systems products and services on a
global basis. Fresenius AG conducts business in four operating divisions:
Fresenius Worldwide Dialysis, Pharmaceuticals Division, Intensive Care and
Diagnostics Division, and Project Business Division. Fresenius Worldwide
Dialysis develops, manufactures and distributes dialysis systems products for
the treatment of patients suffering from kidney failure, including dialysis
machi~es~ dialyzers~ bloodlines, hemodialysis concentrates and peritoneal
dialysis solutions. Fresenius AG’S address is Borkenberg 14, 61440 Oberursel,
Germany (Dear Frankfurt), and its telephone nun~er is 011 49-6171-600.

  FRESENIUS USA

      Fresenius USA is a manufacturer and the exclusive North ~erican
distributor of Fresenius Worldwide Dialysis’ products. Fresenius AG is the
beneficial owner of approximately 70.6% of the outstanding Fresenius USA Co,on
Stock. See "SECURITY OWNERSHIPs" Fresenius USA’S address is 2637 Shadelands
Drive, Walnut Creek, California 94598, and its telephone nu~tber is (510)
295-0200.




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  FRESENIUS AG

         Fresenius Worldwide Dialysis, including all Fresenius USA Co~on Stock
         held by Fresenius AG or its subsidiaries, will be contribsted to
         Freseni~s Medical Care in exchange for FMC Ordinary Shares representing
         approximately 50.3% of all FMC Ordinary Shares outstanding~ on a fully
         diluted basis, i~ediately following the Reorganization.

  GRACE CO~940N SHAREHOLDERS

     - The closing price of Grace Cor~non Stock in NYSE colnposite trading on
       August i, 1996 was $63 i/4 per share.

     - Each holder of Grace Corm~on Stock issued and outstanding at the time of
       Distribution (the "Time of Distribution") will receive one share of New
       Grace Co~on Stock iD the Distribution.

     - Each holder of Grace Corydon Stock issued and outstanding after the Time
       of Distribution will receive one New Preferred Share.

         Holders of shares of Grace Co--on Stock issued and outstanding
         iiim~ediately prior to the Effective Time (other than any shares of Grace
         CorYdon Stock owned by Fresenius AG or its subsidiaries, Fresenius USA or
         its subsidiaries or any Grace subsidiary, a~y shares of Grace Common
         Stock held in Grace’s treasury or any shares of Grace Co.on Stock
         dissenting from the Reorganization), and NMC employees who are holders of
         options with respect to Grace Co~%~%on Stock will be allocated 44.8% of the
         FMC Ordinary Shares outstanding on a fully diluted basis. AS of July 15,
         1996, there were outstanding 92,001,176 shares of Grace Common Stock, and
         options with respect to approximately 231,000 shares of Grace Common
         Stock held by employees of NMC (none of whom is an officer Or

                                            2
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         director of Grace). On this basis, assuming that there are no Grace
         Con~on Dissenting Shareholders and that each option with respect to Grace
         Coa~on Stock is converted to an option with respect to 3.7 ADSs, each
         share of Grace Conl~on Stock will be converted in the Grace Merger into
         the right to receive 1.013 ADSs, each such ADS representing one-third of
         an FMC Ordinary Share.




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The following charts represent the corporate organization of the parties to the
Reorganization on both pre transaction and post transaction bases:

                                         [CHART]




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THE SPECIAL MEETINGS

  GRACE

     The Grace Special Meeting to consider and vote on approval and adoption of
the Reorganization Agreement and the transactions contemplated thereby, as well
as the Grace Amench~ent, will be held on Septer~er 16, 1996 at 10:00 a.m. local
time at Grace’s headquarters at One Town Center Road, Boca Raton, Florida. Only
holders of record of Grace Common Stock and Grace Preferred Stock at the close
of business on July 29, 1996 (the "Grace Record Date") will be entitled to
notice of and to vote at the Grace Special Meeting. ~s of July 15, 1996, the
following shares of the following classes of Graee’s capital stock were
outstanding and entitled to the following votes:

<TABLE>
<CAPTION>
                                                                              SHARES       VOTES PER
                                     CLASS                                 OUTSTANDING       SH~/~E

    <S>                                                                    <C>             <C>
    Grace 6% Preferred Stock ......................................               36,460         160
    Grace Class A Preferred Stock .................................               16,256          16
    Grace Class B Preferred Stock .................................               21,577          16
    Grace Co~Nton Stock ............................................          92,001,176           1
</TABLE>

         Holders of Grace Con~lon Stock and Grace Preferred Stock will vote together


     Votes Required. Adoption and approval of the Reorganization Agreement add
the transactions contemplated thereby requires the affirmative vote of
two thirds (and, in the case of the Grace ~sendalent, a majority) of the total
voting power (or 65,626,736 votes as of July 15, 1996) of Grace’s outstanding
capital stock. As a result, failing to vote in person or by proxy on any such
proposal or abstaining on any such proposal has the same effect as voting
against the proposal.

     Beneficial Ownership of Management. At June 15, 1996, Grace’s directors
and executive officers and their affiliates beneficially owned in the aggregate
Grace Common Stock and Grace Preferred Stock representing less than 1% of the
total voting power of Grace’s outstanding capital stock. Each of the directors
and executive officers of Grace is expected to vote in favor of the proposals to
be voted on at the Grace Special Meeting.

  FRESENIUS USA

     The Fresenius USA Special Meeting to consider and vote on the approval and
adoption of the Reorganization Agreement and the transactions contemplated
thereby, as well as on the Fresenius USA Plan ~lendment, will be held on
September 16, 1996 at 10:00 a.m. local time, at the 52nd floor conference
center of O’Melveny & Myers LLP, 153 East 53rd Street, New York NY 10022. Only
holders of record of Fresenius HSA Co--on Stock at the close of business on
July 29, 1996 {the "Fresenius USA Record Date") will be entitled to notice of
and to vote at the Fresenius USA Special Meeting. At July 29, 1996, there were
outstanding and entitled to vote 26,374,218 shares of Fresenius USA Col~lon
Stock. Each share of Fresenius USA Con~non Stock is entitled to one vote.

      The affirmative vote of the holders of record of at least two-thirds of the
outstanding shares of Fresenius USA Co,on Stock is necessary to approve and
adopt the Reorganization Agreement and the transactions contemplated thereby.
The affirmative vote of the holders of record of a majority of the shares of
Fresenius USA Coifed%on Stock is necessary to approve the Fresenius USA Plan
~/aench~ent. A~ a result, failing to vote by person or proxy on any such proposal
at the Fresenius USA Special Meeting or abstaining on any such proposal has the
sa~e effect as votiDg against the proposal.

     Frese~ius AG is currently the beneficial owner of 18,438,545 outstanding
shares of Fresenius USA Co~on Stock, including 3,129,883 shares of Freseni~s
USA Common Stock which were acquired upon conversion of the Fresenius USA Series
F series Preferred Stock {"Fresenius USA Preferred Stock") previously owned by
Freseni~s AG and including 1,515,221 shares which were acquired upon exercise of

                                              5
<pAGE>      30

warrants to purchase Fresenius USA Common Stock. Fresenius AG has informed




http://edgar.sec.gov/Archives/edgar/dataJ42872/0000950123 -96-004024.txt                                                5/19/2009
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Fresenius USA that it has agreed to vote all of its shares of Fresenius USA
Common Stock in favor of the Reorganizatio~ and intends to vote all sHch shares
in favor of the Fresenius USA Plan Amendm~e~t. Such 18,438,545 shares represent
approximately 70.3% of the outstanding shares of Fresenius USA Cordon Stock.
ACCORDINGLY, SUCH AFFIPdKATIVE VOTE BY FRESENIUS AG WILL RESULT IN THE APPROVIkL
OF THE REORGANIZATION ~D THE TPJ{NSACTIONS CONTEMPLATED THEREBY ~ND THE
FRESENIUS USA PLAN ~4ENDMENT. In addition, directors and executive officers of
Fresenlus USA, who beneficially owned as of July 23, 1996, in the aggregate,
262,166 shares of Fresenius USA Con~lon Stock, or approximately 1% of the
Fresenius USA Co~flon Stock then outstanding, are expected to vote the shares
they own in favor of the Reorganization and the Fresenius USA Pla~ 7~le~dment.
See "SECURITY OWNERSHIP      Security O~mership of Certain Beneficial Owners and
Management of Fresenius USA."

      Shareholders of Fresenius AG have already approved the Reorganization at
Extraordinary General Meeting held on April ii, 1996.

     For information with respect to certain interests Of the directors
executive officers of Fresenius USA i~ the Reorganization, see "INTERESTS OF
CERTAIN PERSONS" and "FRESENIUS USA EXECUTIVE COMPENSATION."

     For additional information relating to the special Meetings, see "THE




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 CONDITIONS

      Financing. It is a condition to the consummation of the Reorganization
that Grace and Fresenius AG have obtained the financing necessary to consurm~ate
the Reorganization, including the Distribution payment, on terms satisfactory to


     Antitrust. It is a cenditio~ to the consu~ation of the Reorganization
that the waiting period under the Hart-Scott Rodino Ay*tltrust Improvements Act
of 1976, es amended, and the rules promulgated thereunder (the "HSR Act"), shall
have expired or terminated. On July 25, 1996, the U.S. Federal Trade Commission
(the "FTC") accepted for public corament an Agreement Containing Consent Order
with Fresenlus AG and Fresenius USA, and the HSR Act waiting period terminated
on July 26, 1996. Following the public co~ent period, the FTC may either take
steps to enter a final order or withdraw acceptance of the Agreement Containing
Consent Order. Unless acceptance is withdra~m by the FTC, the Agreement
Containing Consent Order will require the divestiture of FreseNi~s USA’s
dialysate concentrate manufacturing facility in Lewisberry, Pennsylvania. See
"BUSINESS OF FRESENIUZ MEDICAL CARE -- Business of Fresenius USA - Properties"
and "THE REORGANIZATION     Conditions."

      Under Germony’s Law Against Restraints of Competition, Fresenius AG and NMC
have filed for pre merger clearance with the German Federal Cartel Office
("FCO"). The FCO has granted clearance, subject to the divestment prior to the
consu~ation of the Reorganization of Schiwa GmbH ("Schiwa") and Rena-Med G~H
and its affiliates ("Rena Mad"), German subsidiaries of Fresenius AG and Grace,
respectively, whose products include dialysate concentrates. Efforts are
underway to divest $chiwa and Rena Mad. Discussions are iN progress with the FCO
regarding the conditions and timing of the divestment and clearance. See "THE
REORGANIZATION     Conditions."

      Litigation. It is a condition to the consum~ation of the Reorganization
that no governmental entity shall have issued any judgT~ent, decree, injunctlon
or other order which is in effect and prohibits consu~ation of the
Reorganization.

     Other Approvals. It is a condition to the Reorganization that all material
filings, consents, approvals and authorizations required to be made Or obtained
in connection with the Reorganization be made or obtained from the applicable
governmental or regulatory authority, agency, court or other entity, domestic or
foreign, prior to the Effective Time. In this regard, it should be noted that
certain regulatory approvals may be required by state and local authorities a~d
by certain government agencies which regulate the health care business. NMC and
Fresenius Worldwide Dislysis are working toward obtaining all such consents and
approvals and expect that such consents and approvals will be obtained.

     Waiver. All conditions to the Reorganization may be waived by the relevant
party, but neither Grace nor Fresenius AG expects to waive any material
conditions.

  TERMINATION

     The Reorganization Agreement may be terminated and the Reorganization
abandoned at any time prior to the Effective Time under certain circumstances
described in the Reorganization Agreement, including in connection with a Higher
Offer. If the Reorganization Agreement is terminated ~nder certain specified
conditions, $75 million plus actu~l out-of-pocket expenses will become payable
by Grace to Fresenius AG (although Grace will not be responsible for the
expenses of Fresenius USA}. Pursuant to an agreement between Fresenius AG and
Fresenius USA, Fresenius USA is entitled to 34% of any such termination fee. See
"THE REORG~MIZATION -- Conditions," -    Termination Fees" and "-- Termination."
In the event Of termination of the Reorganization AgreemeNt, no party to the
Reorganization Agreement will have any liability or future obligation to any
other party, except for liability for any material and willful breach of any
covenant.


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CERTAIN FEDERAL INCOME TAX CONSEQUENCES

  TAX CONSEQUENCES TO GRACE AND GEACE SHAREHOLDERS

     The obligations of Grace to console%ate the Distribution and the
Recapitalization, and the obligations of Grace, Fresenius AG and Fresenius USA
to cons~r~late the Reorganization, are conditioned, among other things, on the
receipt of opinions fro~ special counsel and tax counsel to Grace that: (a} the
Distribution will qualify as a tax-free distribution such that a Grace
shareholder will not recognize any income, gain or loss as a result of the
Distribution; {b) the Recapitalization will be a tax-free trens~ction to Grace
such that no gain or loss will be recognized by Grace as a result of the
Recapitalization; and (c) the Grace Merger will qualify as a tax free
transaction to Grace add its shareholders s~ch that Grace will recognize no gain
or loss es a result of the Grace Merger, and no gain or loss will be recognized
by Grace shareholders upon receipt of ADSs representing ~C Ordinary Shares in
exchange for Grace Co--on Stock pursuant to the Grace Merger, except that
holders of Grace Co~lon Stock who exercise their appraisal rights or who receive
cash in lieu of fractional shares will recognize gain or loss. It is also
expected that the Recapitalization will be tax free to the Grace shareholders.
NO ruling from the Internal Revenue Service ("IRS") has or will be sought with
respect to any aspect of the Reorganization. See "CERTAIN FEDEP4AL INCOME
CONSEQUENCES OF THE TP~SACTIONS TO GRACE AND GRACE SHAREHOLDERS."

  T~ CONSEQUENCES TO FRESENIUS USA STOCKHOLDERS /%ND FRESENIUS MEDIC/~L CARE




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      Stockholders of Fresenius USA who exchange their shares of Fresenius USA
Co~lon Stock for [MC Ordinary Shares or ADSS will not be subject to federal
income t~x except to the extent c~sh is received in lieu of fractional shares.
The exchange of shares of Freseni~s USA Con~non Stock entirely for cash by
Fresenius USA Dissenting Stockholders will be a taxable transaction on which
gain or loss will be recognized.

     For a ~ore complete summary of the meterial U.S. federal and German income
t~x consequences of exchanging shares of Fresenlus USA Common Stock for FMC
Ordinary Shares and of holding the FMC Ordinary Shares, see "CERTAIN INCOME TAX
CONSEQUENC£S OF THE TR~NSACTION$ TO HOLDERS OF FRESENIUS USA COMMON STOCK."

     Freseni~s Medical Care will recognize ~o gain or loss upon receipt of
Fresenius U$A CoRmlon Stock in exchange for FMC Ordinary Shares or ADSS.




http://edgar.sec.gov/Archives/edgar/data/42872/OOOO950123-96-OO4024.txt                                         5/19/2009
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the transactions contemplated thereby, shareholders should carefully evaluate
the ~atters set forth under "RISK FACTORS" and "BUSINESS OF FRESENIUS MEDIC2LL
CARE," add, iN the case of Grace shareholders, in the New Grace Prospectus
attached as ~h~nex A to the version of this Joint Proxy Statement Prospectus
being furnished to Grace shareholders, in addition to the other matters
described herein and therein. In addition, see "BUSINESS OF FRZSENIUS MEDIC2LL
C~/~Z -- Regulatory and Legal Matters - Legal and Regulatory Proceedings --
Shareholder Litigation" for a sur~ary of a purported class action filed in
February 1996 relating to the Reorganization. The plaintiff in such action has
hot taken any steps to prosecute such action slnce it was filed, and the
defendants believe such action is without merit.


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MARKETS AND MARKET PRICES

     Grace Co.on Stock is listed under the sy~ol "GRA" on the NYSE. Fresenius
USA Con~on Stock is listed udder the syn~ol "FRN" on the 2~4EX. On July 15, 1996,
there were approximately 18.000 holders Of record of Grace Co.on Stock and
approximately 4,200 holders of record of Fresenius USA Common Stock. On February
2~ 1996. the last trading date prior to the joint public announcement by Grace
and Fresenius AG of the signing of the Reorganization Agreement, the last
reported sale price on the NYSE Composite Tape was $69.25 per share for Grace
Co.on Stock and the last reported sale price on the ~MEX was $21.50 per share
for Fresenius USA Cor~mon Stock. On August i, 1996, the last reported sale price
on the NYSE Composite Tape was $63 1/4 per share for Grace CoW.non Stock and the
last reported sale price oh the 2~MEX was $19 per share for Fresenius USA
Common Stock.

     Application will be made by New Grace to lis{ the New Grace Cor~non Stock on
the NYSE. Application will be made by Fresenius Medical Care to list the FMC
Ordinary Shares on the Frankfurt Stock Exchange and the ADSs on the NYSE.
Following the Reorganization, FNrMC intends to seek to list the New Preferred
Shares on a national stock exchange. However, no assurance can be given that the
New Preferred Shares will satisfy the listing criteria of any such exchange.
Unless orderly markets iD FMC Ordinary Shares, the /LOSs and the New Preferred
Shares develop, the trading prices of such securities may fluctuate
significantly.

      The following table sets forth, for the fiscal quarters indicated (ended
March 31, June 30, Septeraber 30 and December 31), the range of high and low sale
prices of Grace Conmlon Stock as reported On the NYSE Composite Tape and of
Fresenius USA COI~]O~ Stock as reported on the ~{MEX. Grace has paid a quarterly
dividend on Grace Con~aon Stock of $0.125 per share since December 1995. Prior to
that date, Grace pald a quarterly dividend of $0.35 per share. Fresenius USA has


                                        GP~ACE




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<TABLE>
<CAPTION>
                                 DATE                               HIGH         LOW      CLOSE
       ..........................................
    <S>                                                             <C>          <C>      <C>
    Third Q~arter 1996 (through August i, 1996) .......   ~ .....   21 7/8       17 3/4   19
    Second Quarter 1996 .....................................       24 7/8       19 1/8   21 ]/2
    First Quarter 1996 ......................................       22 5/8       17 1/4   20 3/8
    Fourth Quarter 1995 .....................................       19 7/8       15 1/8   19 7/8
    Third Quarter 1995 ......................................       16 I/2       12       15 5/8
    Second Quarter 1995 .....................................       13 I/8        9 1/2   13 i/8
    First Quarter 1995 ......................................       ii            8 5/8   I0 I/2
    Fourth Quarter 1994 .....................................        8 7/8        7        8 3/8
    Third Quarter 1994 ......................................        9            5 7/8    8 5/8
    Second Quarter 1994 ................ ~ ....................      7 I/2        5 3/8    6 1/4
    First Quarter 1994 ......................................        8 1/4        6 5/8    6 7/8
</TABLE>

     SHAREHOLDERS /iRE ~DVYSED TO OBTAIN CURRENT bg~KET QUOTATIONS FOR GRACE
COb~ON STOCK /END FRESENIUS USA COb~4ON STOCK.




http://edgar.sec.gov/Archives/edgar/data/42872/0000950123 -96-004024.txt                                             5/19/2009
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SUM~tARy SELECTED SPECIAL-PURPOSE, CONSOLIDATED FINANCIAL INFORMATION OF G~%CE

     The following Sugary Special-Purpose, Consolidated Financial Information
of Grace includes only the assets~ liabilities, revenues add expenses of the
Grace health care business operated by NMC prior to the Reorganization. However,
certain health care-related assets o~med or investments held in part by Grace
Chemicals and in part by NMC, and previously under the oversight of NMC, are
being retained by Grace Chemicals in the Reorganization and are excluded from
this Sugary Special-Purpose, Consolidated Financial Information. The following
Summary Special-Purpose, Consolidated Financial Information of Grace should be
read in conjunction with the Special Purpose, Consolidated Financial Statements
of Grace and "NANAGEMENT’S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND
RESULTS OF OPEP~ATIONS     NMC" included elsewhere in this Joint proxy
Statement Prospectus, as well as Grate’s 1995 ~nnual Report o~ Form 10-K
incorporated herein by reference. The following Su~lary Special-Purpose,
Consolidated Financial Information for the years ended December 31, 1993, 1994
and 1995 has been derived from Special-Purpose, Consolidated Financial
Statements audited by Price Waterhouse LLP, independent accountants, except for
Balance Sheet Data at December 31, 1993. Special-Purpose, Consolidated Balance
Sheets at December 31, 1994 and 1995 and the related Special-Purpose,
Consolidated Statements of Earnings and of Cash Flows for the three years ended
Decen~er 31, 1995 and notes thereto appear elsewhere herein. The report of Price
Waterhouse LLP which also appears elsewhere herein contains an explanatory
paragraph relating to the basis of presentation described in Note 1 to such
Special-P~rpose, Consolidated Financial Statements. The su~mlary Special-Purpose,
Consolidated Financial Information for the three months ended March 31, 1995 and
1996, and the years ended Decanter 31, 1991 and 1992 and the Balance Sheet Data
at December 31, 1993 has been derived from Grace’s Unaudited Special-Purpose,
Consolidated Financial Statements. For additional information, see "GRACE




                                                                                                         THREE MONTHS
                                                                                                              ENDED
                                                      yEAR ENDED DECEMBER 31,                              MARCH 31,

                                           1991        1992        1993           1994      1995        1995          1996

                                                                              (IN MILLIONS)
<$>                                       <C>         <C>         <C>           <C>       <C>       <C>           <C>
SU~IARy OF OPEKATING DATA:
  Net revenues .......................    $i,010      $1,214      $1,456        $1,818     $2,033   $     478     $      528
  Earnings before income taxes .......       114          140        191           214        206         48             49
  Net earnings .......................         63          80        104           102         97         26             26
BT~LANCE SHEET DATA (AT END OF
  PERIOD):
  Total assets .......................    $ 853       $ 900       $1,245        $I,644     $1,998                 $2,059
  Total long-term debt and
      capitalized lease obligatzons...            7           6          14          17        35                        28
  Total liabilities ..................          253         367         365         485       635                       601
  Total equity .......................          600         533         880       1,159     1,363                     1,458




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SU~i~y SELECTED HISTORICAL FIN~/qCI2~L INFOF~MATION OF FRESENIUS WORLDWIDE
DII~LySIS

     The following surmnary co[~%bined financial information of Fresenius Worldwide
Dialysis should be read in conjunction with the co~bined financi~l statements of




http://edgar.sec.gov/Archives/edgar/dated42872/OOOO950123-96-OO4024.txt                                                           5/19/2009
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flow items are translated at the average exchange rate for the year.

<TABLE>
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                                                                                                               THREE
                                                                                                              MONTHS
                                                                                                            ENDED MARCH
                                                           yEAR ENDED DECEMBER 31,                              31,


                                         1991     1992      1993    1994    1995       1994          1995   1995    1996




                                                                                                                           THREE MONTHS
                                                                                                                              ENDED
                                                                   yEAR ENDED DECEMBER 31,                                  N~CH 31,

                                                         1991      1992        1993           1994          1995       1995        1996

                                                           {IN MILLIONS,   EXCEPT PER SHARE AMOUNTS)
<S>                                                  <C>            <C>        <C>        <C>        <C>               <C>         <C>
SUNny OF OPERATIN$ DATA:
  Net sales ..................................       $ i01         $ 129       $ 206          $ 254         $ 305      $ 68        $ 81
  Operating income (loss) ....................           (i)           3           9             12            18         4            7
  Net income (loss) ..........................           (3]           1           4              7            16         3           5
  Net income (loss) per Conm~on and common
     equivalent share:
     Primary ..................................      $(0.16)       $0.03       $0.18          $0.32         $0.61      $ .13       $ .19
     Fully diluted ............................      $(0.16}       $0.03       $0.18          $0.31         $0.59      $ .13       $ .19
BAIJ~MCE SHEET DATA (AT END OF PERIOD):
  Total assets ...............................       $      78     $ 89        $ 159          $ 185         $ 225      $           $ 227
  Total debt and capital lease obligations...               29        22          68             66            75                     72
   Total stockholders’ equity .................             23       31           37             61            79                      85
</TABLE>


<pAGE>      42

SL99MARY SELECTED UNAUDITED PRO FORMA FIN~NCIAL
INFORMATION OF FREZENIU$ MEDICAL CA~E

     The following summary selected unaudited pro forma financial data
illustrate the pro for)ha effects of the Reorganization. The pro forma income
statement data are based on the income statements of Grace and Eresenius
Worldwide Dialysis, including Fresenius USA, for the year ended Decen~er 31,
1995, and the three month period ended March 31, 1996 and assume thBt the
Reorganization occurred as of January i of each respective period. The pro forma
balance sheet data are based on the balance sheets of Grace and Fresenius
Worldwide Dialysis, including Fresenius USA, as of March 31, 1996, and assume
that the Reorganization occurred as of March 31, 1996. The selected unaudlted
pro form~ financial data should be read in conjunction with the Fresenius




http://edgar.sec.gov/Archives/edgar/data/42872/O000950123 -96-O04024.txt                                                                    5/19/2009
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Medical Care Pro For[sa Financial Statements, together with the historical annual
and interim flnancial statements and other financial information of Grace,
Fresenius USA and Eresenlus Worldwide Dialysis included elsewhere in this Joint
Proxy Statement-Prospectus. The Pro Forma Condensed Combined Financial
Statements from which the following selections are taken have been prepared in
accordance with US G~P ~nder which the Reorganization has been accounted for as
a purchase of Grace by Fresenius Medical Care. THE PRO FORMA CONDENSED COMBINED
FINANCIAL STATEMENTS FROM WHICH THE INFOR~TION HAS BEEN T]~KEN DO NOT pURPORT TO
REPRESENT WHAT THE FIN~NCIAL POSITION OR RESULTS OF OPERATIONS OF FRESENIUS
MEDICAL CARE, GP~CE, FRESENIUS WORLDWIDE DIALYSIS OR FRESENIUS USA WOULD
ACTUALLy HAVE BEEN IF THE REORG~/qIZATION HAD IN FACT OCCURRED AS OF JANUARy l,
1995 OR JANUARY i, 1996, OR TO PROJECT THE FINANCIJ~L POSITION OR RESULTS OF
OPEP~TION$ FOR ~NY FUTURE DATE OR PERIOD~

<TABLE>
<CAPTION>
                                                                       yEAR ENDED                    THREE MONTHS ENDED
                                                                  DECEMBER 31, 1995                   MARCH 31, 1996

                                                                   (IN MILLIONS,        EXCEPT PER SHARE ;~40UNTS)
    <$>
    SUM~3~y OF PRO FOP~4AOPE~%TING INFORMATION:
      Net revenues .....................................                    $2,847                        $ 743
      Earnings before income taxes .....................                       144                            33
      Net earnings
      Earnings per share ...............................                    $ .83                         $ .20
    PRO FOR~ BAL~MNCE SHEET INFOP44ATION:
      Total assets .....................................                                                  $4,641
      Total borrowings(l)                                                                                  2,224
      Total liabilities                                                                                    2,946
      Total stockholders’ equity .......................                                                   1,695
</TABLE>


1. Excludes $200 million for the off balance sheet financing arrangement of




 <TABLE>
 <CAPTION>
                                                  YEAR ENDED DECEMBER 31, 1995                  THREE MONTHS ENDED MARCH 31, 1996

                                                                                FRESENIU$                                      FRESENIUS
                                            NEW GRACE(l)         GRACE(2)          USA         NEW GRACE(l)        GP~ACE(2)      USA

                                            <C>                  <C>            <C>            <C>                 <C>         <C>

   operations ...........................         $(2.05)         $ 1.01             $0.61           $ 0.42         $ 0.27       $0.19
 Net (loss)learnings                               {3.40)           1.01              0.61             0.65           0.27        0.19
                                                   12.57           13.92              3.65            13.44          14.73        3.92
 Book value
 Dividends ..............................            1.18 ....                                         0.13 ....




 http://edgar.sec.gov/Archives/edgar/data~42872/OOOO950123-96-OO4024.txt                                                                   5/19/2009
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                                                                yEAR ENDED DECEMBER 31,     THREE MONTHS ENDED N~ARCH
                                                                           1995                      31/ 1996

                                                                             FRESENIUS                   FRESENIU$
                                                                NEW GP~CE   MEDIC~ C/IRE    NEW GRACE   MEDICAL C]L~E

<S>                                                         <C>             <C>             <C>          <C>
Net earnings/(loss) from continuing operations .......... $                       $ 0.83     ~ 0.39            $ 0.20
Book value ............ .                                                                       17,02           24.21

</TABLE>




         of W. R. Grace & Co. as filed on Form 10-K and 10-Q. These financial
         statements include the packaging and specialty chemical businesses as
         continuing operations and NNC and certain other b~si~esses as discontinued




                                                                     yEAR ENDED            THREE MONTHS ENDED
                                                                 DECEMBER 31, 1995           N~,CH 31, 1996




Net earnings/(loss) from continuing operations
  Fresenius Medical Care ...............................         $ 0.28      $ 0.31        $ 0.07       $ 0.07
  New Grace ............................................          {2.05)          --         0.39            -

             Totals .......................................      $(1.77)     $ 0.31        $ 0.46          0.07


  Fresenius Medical Care ...............................                                   $ ~.17       $ 8.97
  New Grace ............................................                                    i~.02

             Totals .......................................                                 25.~9       $ 8.97

Dividends
  Fresenius Medical Care ...............................         $ 0.40               --   $ 0.04               --




</TABLE>

                                            20
<PAGE>      45

                                      RISK FACTORS

     The following risk factors, in addition to the other information contained
in this Joi~t Proxy Statement-Prospectus, should be caref~lly considered. Grace

attached as Annex A to the version of this Joint Proxy Statement-Prospectus
f~rnished to Grace shareholders. As used herein, the name "Fresenius Medical
Care" refers to the health care b~sinesses conducted by Fresenius Worldwide
Dialysis and krMC prior to the Effective Time, and to be conducted by Fresenius
Medical Care following the Effective Time.




http://edgar.sec.gov/Archives/edgar/data/42872/O000950123 -96-O04024.txt                                                5/19/2009
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RISKS RELATING TO THE BUSINESS OF FRESENIUS MEDICAL CARE

  COST PRESSURES AND OPERATING MARGINS

      Fresenius Medical Cafe’s costs are subject to increases as a result of
rising l~bor and supply costs. At the same time, reimbursement rates (both
governmental and non-governmental} for dialysis treatments and other services
offered by Fresenius Medical Cafe are generally fixed and may remaln at current
levels Or be reduced. See --- Risks Relating to Regulatory Matters -- Dependence
on Government Reimbursement" and --- Health Care Reform." Although FresenlUS
Medical Care will seek to ~aintain or improve operating margins through cost
efficiencies, there can be no assurance that Fresenius Medical Cafe’s operatlng
margins will not decline in the future. See "MANAGEMENT’S DISCUSSION AND
2~NALYSIS OF FINANCIAL CONDITION ~D RESULTS OF OPERATIONS -- NMC,- "NANAGEMENT’S
DISCUSSION AND AN]~LySIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS




http://edgar.sec.gov/Archives/edgar/data/42872/OOOO950123-96-OO4024.txt                                     5/19/2009
